Case 5:13-cr-04008-MWB-CJW   Document 200   Filed 02/12/14   Page 1 of 6
Case 5:13-cr-04008-MWB-CJW   Document 200   Filed 02/12/14   Page 2 of 6
Case 5:13-cr-04008-MWB-CJW   Document 200   Filed 02/12/14   Page 3 of 6
Case 5:13-cr-04008-MWB-CJW   Document 200   Filed 02/12/14   Page 4 of 6
Case 5:13-cr-04008-MWB-CJW   Document 200   Filed 02/12/14   Page 5 of 6
Case 5:13-cr-04008-MWB-CJW   Document 200   Filed 02/12/14   Page 6 of 6
